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LEAVE TO FILE GRANTED
Assistant United States Attorney Rick Ops a Cc K dla by

Blaylock, 601 D Street, N.W., Washington, DC 20530. 3 /3 fo S
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REMISSION PETITION Sn WWiew

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Petitioner Jonas Paasch respectfully submits this Remission Petition pursuant to 28 C.F.R.

Part 9 in addition to his Ancillary Petition for the recovery of his stolen Assets and to help Ges
the case Criminal No. 23-CR-239 (CKK) (UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
COLUMBIA: UNITED STATES OF AMERICA vy. ILYA LICHTENSTEIN, et al. ) Lares]

1. Petitioner’s Property: See Petitioner's Ancillary Petition

2. Fairness: Debt-Redistribution caused many extra victims which makes a modification to the
heist (not restitution), dissolving their multi-signature wallets non-consensually too.

No vote was held. The top 2072 victims didn’t necessarily enjoy being entangled in the
accounting of tainted debt: “/f-you are unethical ,.., that doesn't mean I have to be either.”
soundcloud.com/user-173875295/bitfinex-itself-will-not-be-taking-a-haircut

— Thus many victims have public blockchain-proof, yet against the company right after the heist,
not against the defendant, while the company has stated unwillingness to reverse it. So that
applying the CVRA could tidy this and enable justice, without the honorable DOJ relying on the
company too. — /fdebt-redistribution won't be deemed ‘modification of the heist and if these
victims’ rights to restitution by the CVRA(6) and MVRA (b)(1)(A) or (B) would be disregarded.
— And if their rights from August 2 to 10 would also be disregarded, despite the lost opportunity
to mitigate August 2’s market crash, which was also one of the biggest opportunities, considering
skill and minimal competition at the time 4. and Ex. C4, then they could lose their righteous
property unjustly and it would serve justice, if the honorable DOJ would regard the victim rights.

3. Notification: The 2072 victims have not been notified even though contacts are documented.
CVRA(a)(9): "The right to be informed in a timely manner of any plea bargain or deferred
prosecution agreement", CVRA(c)(b)(1): “GOVERNMENT.--Officers and employees of the
Department of Justice and other departments and agencies of the United States engaged in the
detection, investigation, or prosecution of crime shall make their best efforts to see that crime
victims are notified of, and accorded, the rights described in subsection (a)”

4, Systemic Remission & Broad harm: The crime occurred in a small market and caused
disproportionate damage, still affecting the 100s of times larger market today Ex. C.

August 2. 2016 represents a momentous point in crypto history, when theft took over once more
and turned the markets upside down (with perpetually compounding consequences) (If anybody
could Insider-trader such a heist, they could yield a similar amount as the thief Ex. C2, shows high
volume during August 2. crash) - August 2. came within the aftermath of a previous similar-sized
heist ‘The DAO’ (June 17, 2016) — Luckily developers of the underlying network *Ethereum’
fulfilled minimal governance undoing that heist. Yet July 20, 2016, the fork ETC was started at
the sole occasion, not to accept this minimal governance, rewarding the previous theft. Ex. C3)

““Crypto-assets are bringing about instability and insecurity - the exact opposite of what they promised.

They are creating anew Wild West.” Gensler, G. (2021), Remarks Before the Aspen Security Forum, U.S
Securities and Exchange Commission (— While underlying networks have intrinsic utility, this quote applies
well to Tokens which rely on trust and popularity.) — In 2025, exchanges have started suspending the
use of Stablecoins “The new legal framework [MICA] will support market integrity and financial
stability” (esma.europa.eu/esmas-activities/digital-finance-and-innovation/markets-crypto-assets-regulation-mica )
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5. Personal harm: See ECF-173 p. 13 ‘Intreduction’,‘Impact’, ECF-235 ‘Prayer for relief? — On
August 2, 2016 Petitioner suffered immediate shock and fear. Petitioner had found a calling in
trading and wanted to keep the responsibility to stabilize the markets, yet his capital was gone. —-
With such news, friends and lenders gave up on crypto. After each heist it was inherently harder
to restart and impossible to catch up and unsettling to rely on service, which could decide to steal
any moment. In 2016 repeated success and theft both had exponential consequences: Several of
Petitioner’s neighbors in the Leaderboard Ex. C4. were unaffected, earning 1000s of Bitcoins in
2017 amidst low competition. — To make it worse, Petitioner's greatest investment (in Ethereum)
was stolen prior (‘cryptsy.com’, January 2016) Ex. D2. (from a hot wallet). — Had one of these
crimes been prevented, the petitioner would not have suffered as compounding,
opportunity-stealing, shattering effects, Petitioner couldn’t foresee nor endure this repeatedly
taking his full effort and peace. Thus Petitioner has since suffered from chronic pain and
underweight.

Petitioner pleads to the honorable DOJ, that the remission processes or other relief recognize him
and other victims, whose BTC were stolen and respectfully expresses gratitude to the honorable
DOJ for their consideration.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct. Executed on March 2, 2025.

eh

Pro Se Victim

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CERTIFICATE OF SERVICE
|, Jonas Paasch, hereby certify that on this 2 day of March, 2025, a true and correct copy of the foregoing document
was served upon the following individuals by the methods indicated:

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METHOD OF SERVICE: The foregoing document was served via email.
